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10   and on behalf of all others similarly situated,
11
     (Additional Counsel Appearing on Signature Page)
12

13
                                     UNITED STATES DISTRICT COURT
14

15                                       DISTRICT OF NEVADA

16   MICHAEL JAFFEY, individually and on               No. 2:17-CV-02600-JCM-PAL
     behalf of all others similarly situated,
17                                                     JOINT STIPULATION REGARDING
                        Plaintiff,                     BRIEFING SCHEDULE ON
18                                                     DEFENDANT’S MOTION TO STAY
            v.                                         CASE (DKT. 14) AND MOTION TO
19                                                     DISMISS (DKT. 15); [PROPOSED]
     DEL TACO RESTAURANTS, INC., a                     ORDER
20   Delaware corporation,

21                      Defendant.

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     STIPULATION TO EXTENSION OF TIME                                       CASE NO. 5: 17-cv-2600
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 1

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     Attorneys for Defendant
13   DEL TACO, LLC (erroneously sued as
     DEL TACO RESTAURANTS, INC.)
14
     *pro hac vice petitions pending
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     STIPULATION TO EXTENSION OF TIME         -2-               CASE NO. 5:17-cv-2600
     Case 2:17-cv-02600-JCM-PAL Document 28 Filed 11/28/17 Page 3 of 4



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 3                                            STIPULATION

 4           Plaintiff Michael Jaffey (“Jaffey”) and Defendant Del Taco, LLC (erroneously sued as

 5   Del Taco Restaurants, Inc.)(“Del Taco”) hereby stipulate to the following briefing schedule for

 6   Defendant’s Motion to Stay (Dkt. 14) and Motion to Dismiss (Dkt. 15):

 7          WHEREAS, on October 5, 2017, plaintiff filed a putative class action complaint against

 8   Del Taco.

 9          WHEREAS, on October 26, 2017, pursuant to the parties’ Joint Stipulation (Dkt. 5), the
10   Court extend Del Taco’s deadline to respond to the complaint by to November 22, 2017 (Dkt. 7).

11           WHEREAS, on November 21, 2017, Del Taco filed its Motion to Stay (Dkt. 14) and

12   Motioin to Dismiss (Dkt. 15)

13           WHEREAS, plaintiff’s deadline to file his opposition to the Motions is currently

14   December 5, 2017, and Del Taco’s deadline to file its reply in support of the Motions is currently

15   December 12, 2017.

16           WHEREAS, due to the holiday season, the relative complexity of the issues presented,

17   and counsel’s pre-existing business commitments, Plaintiff will require additional time to

18   prepare his opposition to both Motions, and Del Taco will require additional time to prepare its

19   reply briefs.
20           WHEREAS, the parties have agreed to a briefing schedule for the Motion.

21           WHEREAS, the stipulated briefing schedule agreed upon by the parties will not alter any

22   event or deadline already affixed by Court order.

23           NOW THEREFORE, THE PARTIES HEREBY STIPULATE AND AGREE, SUBJECT

24   TO THE COURT’S APPROVAL, THAT:

25
             1. Plaintiff shall file his opposition to the Motion on or before January 5, 2018.
26
             2. Del Taco shall file its reply in support of the Motion on or before January 26, 2018.
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     Dated: November 27, 2017                                  Respectfully submitted,
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                                                  By:

     STIPULATION TO EXTENSION OF TIME                    -3-                             CASE NO. 5:17-cv-2600
     Case 2:17-cv-02600-JCM-PAL Document 28 Filed 11/28/17 Page 4 of 4



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                                           Defendant
11   Attorneys for Plaintiff               DEL TACO, LLC (erroneously sued as
                                           DEL TACO RESTAURANTS, INC.)
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                                            IT IS SO ORDERED:
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                                            ______________________________________
15                                          UNITED STATES DISTRICT JUDGE
                                            JAMES C. MAHAN
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17                                          DATED:         __________________________

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     STIPULATION TO EXTENSION OF TIME      -4-                         CASE NO. 5:17-cv-2600
